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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                          Chapter 11

PURDUE PHARMA L.P., et al.,                                     Case No. 19-23649 (RDD)

                     Debtors.1                                  (Joint Administration Pending)



                      STATEMENT OF THE RAYMOND SACKLER FAMILY
                      IN SUPPORT OF THE DEBTORS’ CHAPTER 11 FILING

              The Raymond Sackler family hereby submits this statement in support of the chapter 11

filing of Purdue Pharma L.P. and its affiliated debtors and debtors-in-possession in the above-

referenced cases (collectively the “Debtors”) and respectfully states as follows:

                                                   Statement

              1.     The Raymond Sackler family fully supports the Debtors’ objectives and proposed

plans for the Purdue bankruptcy. Like families across America, the family has deep compassion

for the victims of the opioid crisis and believes the settlement framework – now supported by the

attorneys general of twenty-nine states and territories and the plaintiffs’ steering committee

representing thousands of municipalities – is an historic step towards providing critical resources

that address a tragic public health situation.




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  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034), Imbrium
Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp.
(4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140), Purdue
Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc. (7805),
Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes
Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and SVC Pharma
Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard, Stamford,
CT 06901.


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       2.      The debate over the opioid crisis has been often misleading and, in terms of

providing solutions to the nation’s urgent public health needs, mostly unproductive. The family

is hopeful that Purdue’s filing and the proposed settlement can be a turning point in that debate

and focus all parties on delivering real help where it’s needed – in communities that are suffering.

       3.      The family vigorously contests the claim that Purdue or the Sackler family is liable

for the opioid crisis. Nevertheless, faced with the reality that litigating thousands of cases in

hundreds of forums would quickly drain resources that would otherwise be available to address a

public health crisis, the family has decided to join the company’s efforts to resolve the litigation

in a productive manner that addresses the underlying opioid crisis in positive and demonstrably

beneficial ways.

       4.      The proposed settlement does exactly that. It will provide substantial funding and

vital medical products to victims in urgent need. The family therefore hopes that the bankruptcy

process can be focused on the finalization and implementation of the settlement as expeditiously

as possible. If some parties raise issues that must be litigated to remove barriers to the resolution,

the family is prepared to address any of those issues that pertain to them and, if need be, to

challenge factually and legally baseless arguments advanced by opponents of the settlement.

       5.      The family has generally declined to respond to the highly inaccurate portrait

painted in lawsuits and media coverage. The family has been criticized for that choice, and

perhaps it should have adopted a more proactive stance. But today is not the day to respond to

those allegations. Rather this is a time for constructive engagement, the conservation of resources,

the resolution of disputes and the implementation of the settlement.

       6.      The family is committed to working with this Court and all parties to pivot the

dialogue to productive negotiations and swift implementation of solutions. With that common



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purpose, these proceedings can set a powerful and constructive example for the industry and the

system.




Dated: September 16, 2019
       New York, New York



                                                    /s/ Gerard Uzzi
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                                                   Counsel to the Raymond Sackler Family




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